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IN THE UNITED sTATEs DISTRICT CoURT 05 AUG 17 AH 10= 22
FOR THE WESTERN DISTRICT OF TENNESSEE mw
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THOMAS & BETTS CORPORATION and
THOMAS & BETTS INTERNATIONAL, INC.,

Plaintiffs, Case No.: 05-2267 D P
v.

HUBBELL INCORPORATED and
HUBBELL POWER SYSTEMS, INC.,

Defendants.

THOMAS & BETTS CORPORATION and
THOMAS & BETTS INTERNATIONAL, INCL.,

Plaintiffs/Cross-Defendants,
. HUBBELL INCORPORATED,

Defendant/Cross-Plaintiff.

 

ORDER ON MOTION TO DISMISS OR
IN THE A_LTERNATIVE FOR NON DEF]NITE STATEMENT

 

Before the court is the motion of Defendant/Cross-Plaintiff Hubbell Incorporated (“Hubbell”)
seeking dismissal of the complaint for failure to state a cause of action for Which relief can be
granted Fed.R.Civ.P. 12(b)(6), or in the alternative for more definite statement, Fed.R.Civ.P. 12(e).

In response to the motion, Plaintiff, Thomas and Betts, has filed an amended complaint

Th:`s document entered on the docket sheet in compliance
with eula se and/ur re(a) FncP on ' - /f

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Upon review of the amended complaint, the court finds that the motion to dismiss or for more

definite statement should be denied, as the amended complaint addresses the earlier deficiencies

IT ls so om)ERED this 50 *" day of@j“d;, 2005.

CE BO DONALD
ITED STATES DISTRICT JUDGE

 
 
  
 

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02267 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

